59 F.3d 167NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Alton B. SMITH, Plaintiff--Appellant,v.Michael J. CAVANAUGH, Director, South Carolina Department ofProbation, Pardon, and Parole Services;  ParkerEvatt, Commissioner, South CarolinaDepartment of Corrections,Defendants--Appellees.
    No. 956129.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 18, 1995.Decided:  June 22, 1995.
    
      Alton B. Smith, Appellant Pro Se.  Carl Norman Lundberg, SOUTH CAROLINA DEPARTMENT OF PROBATION, PAROLE &amp; PARDON SERVICES, Columbia, SC, for Appellees.
      D.S.C.
      AFFIRMED.
      Before NIEMEYER and WILLIAMS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  We have reviewed the record and the district court's opinion accepting the magistrate judge's recommendation, and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Smith v. Cavanaugh, No. CA-94-1218-3-19AK (D.S.C. Jan. 4, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    